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[Dostkamd] [Order Striking Amendment To Schedules]




                                        ORDERED.
Dated: May 24, 2019




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
                                         www.flmb.uscourts.gov



In re:                                                                   Case No.
                                                                         8:19−bk−03039−RCT
                                                                         Chapter 7
Rodolfo Marin



________Debtor*________/

                     ORDER STRIKING AMENDED SCHEDULE A/B,SCHEDULE C

  THIS CASE came on for consideration, without hearing, of the Amended Schedule A/B,Schedule C filed
May 23, 2019, Doc. No. 25. The Amended Schedule A/B,Schedule C is deficient as follows:

         The Amended Schedule A/B,Schedule C does not contain an appropriate unsworn declaration
         with signature of the Debtor in compliance with Fed. R. Bankr. P. 1008.

         The Amended Schedule A/B,Schedule C does not contain an appropriate signed and dated
         proof or certificate of service in compliance with Local Rule 9013−1.

         The Amendment to Schedules does not include an Amended Summary of Your Assets and
         Liabilities required for reporting purposes in compliance with 28 U.S.C. § 159(c)(3)(A), (B)
         and/or (C).

   Accordingly, it is ORDERED:

   The Amended Schedule A/B,Schedule C is stricken without prejudice and with leave to refile after having
cured these deficiencies.

The Clerk's office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
